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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
              v.                           )          Case No.       09-CR-043-SPF
                                           )
LINDSEY KENT SPRINGER,                     )
OSCAR AMOS STILLEY,                        )
                                           )
                     Defendants.           )


            MOTION TO RESCHEDULE THE HEARING ON MOTION
                 FOR FRANKS ISSUE AND/OR SUPPRESS

       The United States of America, by and through its attorneys, David E. O’Meilia,

United States Attorney for the Northern District of Oklahoma, and Kenneth P. Snoke,

Assistant United States Attorney, and Charles A. O’Reilly, Trial Attorney, United States

Department of Justice, hereby files this Motion to Reschedule the Hearing on Motion for

Franks Issue and/or Suppress. Defendants Lindsey K. Springer and Oscar A. Stilley notified

the United States through electronic mail communication that they did not oppose the

proposed motion (see Attachments). The United States requests that the Court reschedule

the hearing to the week following the July 9, 2009, hearing date, or as soon thereafter as

possible.

       Following the hearing held April 22, 2009, the Court issued its scheduling order with

respect to this case. The dates announced did not conflict with the calendars of the attorneys

nor with those of the defendants. However, it has been brought to the attention of the
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attorneys for the United States that two potential witnesses, Internal Revenue Service Special

Agents Brian Shern and Donna Meadors, each have prepaid family vacations scheduled for

the week of July 6 through July 10, 2009.1 Special Agent Shern will be a witness for the

United States if such a hearing is held, and Special Agent Meadors may be called as a

witness by the United States and/or the defendants. Both of these individuals are available

during the week of July 13th. Requiring the hearing to be held on July 9 will result in not

just the two witnesses missing their vacations and losing their deposits; seven other

individuals who are scheduled to accompany the witnesses on their respective vacations

would need to forego these trips.




       1
              IRS Special Agent Meadors is scheduled to leave on July 2, 2009; IRS Special
Agent Shern is scheduled to leave on July 5, 2009.

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       In the interest of justice, and to ensure that all relevant evidence is available to be

presented with a minimum of inconvenience to the Court, witnesses, and the parties, the

United States requests that the Court reschedule the Hearing on Motion for Franks Issue

and/or Suppress to a date on or after July 13, 2009.

                                           Respectfully submitted,

                                           DAVID E. O’MEILIA
                                           UNITED STATES ATTORNEY




                                            /s/ Charles A. O’Reilly
                                           CHARLES A. O’REILLY, CBA NO. 160980
                                           Trial Attorney, Dept. of Justice
                                           KENNETH P. SNOKE, OBA NO. 8437
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                            CERTIFICATE OF SERVICE

       I hereby certify that on the 8 th day of May, 2009, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing and transmittal
of a Notice of Electronic Filing to the following ECF registrants:

       Lindsey Kent Springer
       Defendant

       Oscar Amos Stilley
       Defendant

       Robert Williams
       Standby Counsel assigned to Lindsey Kent Springer

       Charles Robert Burton, IV
       Standby Counsel assigned to Oscar Amos Stilley.




                                          /s/ Kenneth P. Snoke
                                          Assistant United States Attorney




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